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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

DISPLAY TECHNOLOGIES, LLC,

                      Plaintiff,

                v.                                Civil Action No. 17-1426-RGA

GIBSON INNOVATIONS USA, INC.,

                      Defendant.


                                          ORDER

                WHEREAS, the above-captioned case was stayed on May 8, 2018;

                NOW THEREFORE, IT IS HEREBY ORDERED that, the above-captioned case

is ADMINISTRATIVELY CLOSED. The parties shall file status reports every

six months, and promptly notify the Court when the case may be reopened and other appropriate

action taken.




~'3.'lP~
Date     I
